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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               *
 UNITED STATES OF AMERICA                      *
                                               *     CRIMINAL NO. 23-cr-257 (TSC)
         v.                                    *
                                               *
 DONALD J. TRUMP,                              *
                                               *
                   Defendant.                  *
                                               *

   GOVERNMENT’S UNOPPOSED MOTION TO VACATE BRIEFING SCHEDULE

        As a result of the election held on November 5, 2024, the defendant is expected to be

certified as President-elect on January 6, 2025, and inaugurated on January 20, 2025. The

Government respectfully requests that the Court vacate the remaining deadlines in the pretrial

schedule to afford the Government time to assess this unprecedented circumstance and determine

the appropriate course going forward consistent with Department of Justice policy.            By

December 2, 2024, the Government will file a status report or otherwise inform the Court of the

result of its deliberations. The Government has consulted with defense counsel, who do not object

to this request.


                                                    Respectfully submitted,

                                                    JACK SMITH
                                                    Special Counsel

                                            By:     /s/Molly Gaston
                                                    Molly Gaston
                                                    Thomas P. Windom
                                                    Senior Assistant Special Counsels
                                                    950 Pennsylvania Avenue NW
                                                    Room B-206
                                                    Washington, D.C. 20530
